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               An Introduction to Dfinity and the Internet Computer
                       By Mira Christanto & Wilson Withiam
                       May 10, 2021 ⋅ Analysis



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               Dfinity is one of the most tenured and well-funded smart contract platforms
               in crypto. Yet it is also one of the least understood. Most of Dfinity’s
               obscurity is due to its technical complexity and abstract vision. The launch of
               their token and finally open sourcing their code will create more interest and
               understanding in the project.


               We’ve seen blockchain technology, such as Ethereum’s “world computer”
               aspirations, applied to tackle traditional finance and analog collectibles.
               However, Dfinity is trying to tackle the issues related to traditional internet.
               Most content, functionality, and user data exist in proprietary ecosystems
               controlled by big-tech companies. Dfinity’s answer, the Internet Computer, is
               a reimagining of the IT stack where developers can build and host software
               free from the big-tech monopolies that control user data today.


               Introduction to Dfinity and the Internet
               Computer
               Since 2016, Dfinity has been focused on building the “Internet Computer”, a
               decentralized blockchain network that aims to expand the functionality of
               the internet. The problem Dfinity is addressing extends beyond just
               blockchain technology. It aims to build a decentralized, scalable cloud-like
               platform that can store data, perform computation, and support community-
               driven governance. It’s addressing the issues plaguing traditional internet,
               such as relatively low data security and an oligopoly consisting of big tech
               companies.


               Crypto natives might immediately think of Ethereum’s “world computer” or
               Polkadot’s “meta-protocol” when they think about analogies to the Internet
               Computer. However, Dfinity intends to redefine what a blockchain is
               supposed to do. While Dfinity’s first iteration looked similar to ETH 2.0, its
               scope now extends beyond Ethereum’s base capabilities. Dfinity wants the
               internet itself to support software applications and data, rather than simply
               providing peer-to-peer connections and relying on proprietary cloud-
               hosting services to handle the rest.


               The Internet Computer (IC) is less about building an immutable ledger and
               more about building an open-access internet. The internet connects billions
               of people through TCP/IP protocols. The Internet Computer Protocol (ICP)
               aims to take this concept one step further by offering a public compute
               platform so that developers, enterprises, and government agencies can
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               deploy software and services directly to the public internet. Like Ethereum,
               this platform would allow developers to run computing applications on
               decentralized infrastructure. Unlike Ethereum, the IC intends to offer
               companies the efficiency to run these applications at scale and the flexibility
               to build them to fit a particular user base’s specific needs (e.g. privacy).


               In the current internet landscape, big-tech firms control user-created content
               and data. The algorithms and systems behind these platforms are
               proprietary. Big-tech platforms like Twitter and Google have a great deal of
               control over how users interact with each other and also how they interact
               with third-party services outside the platform.


               Founder Dominic Williams cited that the internet has become much more
               monopolistic and corporate. Tech monoliths such as Facebook or Amazon
               Web Services (AWS) can change platform parameters and access without
               prior notice, putting users and companies that rely on these services at a
               heightened risk. Zygna, a social games company, was disenfranchised when
               Facebook changed its rules. Fortnite has been delisted from Google and
               Apple's App Store after refusing to pay the 30% revenue share. Twitter
               restricted the use of its API in 2012, crippling the development of third-party
               clients and limiting the possible uses of data from its network among non-
               partner entities. LinkedIn did the same in 2015.


               Limiting access to third-party developers could stall innovation as
               entrepreneurs face a degree of 'platform risk'. In response, the IC hopes to
               bring a new generation of software and services that is open-sourced. It aims
               to not only reduce platform risk but also reduce complexity in building and
               maintaining systems. This would also accelerate the time it takes developers
               to launch a new product. Executed correctly, Dfinity hopes to offer the first
               blockchain that runs at web speed and can scale to support any volume of
               smart contract computations and any amount of data.


               This new IT stack will have more hardware requirements. The IC will rely
               more on large data centers and high-end node machines (validators)
               compared to networks like Ethereum. But its advantages could lead to
               entirely new, more accessible, and less data extractive use cases. These
               applications could include interoperability, privacy, security, and openness.
               Use cases include social media, private messaging, search, storage, and peer-
               to-peer internet interactions. If the IC succeeds at replacing legacy IT, there
               would be no need for centralized DNS services, anti-virus, firewalls, database
               systems, cloud services, and VPNs either.




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               To summarize Dfinity’s new offering for developers who want an alternative,
               the benefits of starting to build on the internet include:

                  Setup Cost: Developers don’t have to sign up for numerous vendors.

                  Operating Cost: A secure protocol means that the operating cost of
                  maintaining safety and dealing with complexity goes down.

                  Development: Dfinity proposes that the Internet Computer reimagines
                  software itself, simplifying the process of building and maintaining
                  systems. This leaves more time to focus on user experience

                  Openness: The IC introduces an open software that guarantees access to
                  functionality through APIs to other services

               History of Dfinity
               Similar to how Polkadot’s network is built by Parity and the Web3
               Foundation, the Internet Computer is built by the Dfinity Foundation. The
               non-profit organization was founded in 2016 by tech entrepreneur Dominic
               Williams who now serves as Dfinity’s Chief Scientist. The Internet Computer
               is the culmination of five years of research and development by top
               cryptographers and experts in distributed systems and programming
               languages. Dfinity currently has nearly 100,000 academic citations and 200
               patents.


               Dfinity is one of crypto’s most well-funded and publicized projects. Mainnet
               launches on May 7, 2021 and its token is slated to publicly launch on May
               10. The project actually started fundraising before the ICO boom under the
               ticker $DFN but has since rebranded to $ICP. After Polkadot, Dfinity has
               raised the most capital. It has also raised the most non-frozen funds at $160
               million to date:




               There have been several conflicting versions of Dfinity’s fundraising rounds
               in the media. According to Dfinity, they had three main rounds and one
               airdrop event:

               1. Seed Round, Feb-2017: This round was advertised by a tweet and open
                  to the public by downloading a web extension. Dfinity raised CHF3.9
                  million (US$3.9 million) from 370 participants, at a valuation of $16
                  million, or a price of $0.03 per token. It held a portion of these funds in
                  ETH and BTC during the 2017 crypto bull run According to the team
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                  ETH and BTC during the 2017 crypto bull run. According to the team,

                  Dfinity at one point turned these earlier ETH and BTC allocations into $40
                  million worth of fiat.

                  Dfinity had promised these Seed investors that the subsequent round
                  would be a CHF 20 million main fundraising event, similar to an ICO.
                  However, after the 2017 boom, the project realized its valuation target
                  was set too low. Furthermore, Dfinity cited that it didn’t have any
                  immediate funding shortfalls, and running an ICO fundraise could have
                  placed it in a grey legal territory where securities law was concerned. As a
                  tradeoff, to reward early participants, the team promised that the Seed
                  investors would be awarded 24.72% of tokens at genesis.

               2. Strategic Round, Jan-2018: Dfinity raised $20.54 million for 7.00% of the
                  initial supply (the number has been revised from the previously cited
                  6.84%). This allocation will vest monthly over three years starting from
                  mainnet launch (May 2021). Participants include Polychain Capital,
                  Andreessen Horowitz, CoinFund, Multicoin Capital, and Greycroft
                  Partners. This round marks the first token a16z invested in. Polychain and
                  Dfinity later collaborated to create the “DFINITY Ecosystem Venture
                  Fund” of an undisclosed size. The goal is to fund new projects that would
                  grow the IC’s application ecosystem. The media reported that Dfinity
                  raised a much larger amount of $61 million. It’s possible that this
                  enlarged amount has either been revised or included funds for the
                  Ecosystem Venture Fund.

               3. Private Sale, Aug-2018: 110 participants contributed $97 million for
                  4.96% of the initial supply, sold at $4 per ICP token. This number has
                  been revised from 4.75% previously reported. This allocation came with a
                  monthly vesting schedule of one year from mainnet launch. Vesting will
                  begin at the initial token distribution event on May 10, 2021. Participants
                  in this round include Andreessen Horowitz, Polychain Capital, SV Angel,
                  Aspect Ventures, Electric Capital, ZeroEx, Scalar Capital, and Multicoin
                  Capital.

               4. AirDrop, May-2018: $35 million worth of ICP tokens (formerly DFN), or
                  0.80% of the initial supply, was airdropped to early supporters by being
                  part of their mailing list, forums, slack, and community. At this time,
                  valuations reached $1.89 billion. Airdrop participants received the IOU
                  version of their ICP tokens in September 2020. These tokens will become
                  transferable on May 10, 2021.

               There will be 469,213,710 ICP tokens at genesis and the token supply will be
               distributed as follows. The table below summarizes the round, which can also
               be found in our spreadsheet here.




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                  24.72% Seed Investors: those who invested in Feb-2017 for a total of
                  CHF3.9 million (Swiss Francs)

                  23.9% Dfinity Foundation: The Dfinity Foundation manages the capital
                  raised from the token sales. It also oversees its Foundation Endowment of
                  ICP tokens. These tokens are those held by or already spent by the
                  Foundation to fund R&D, operations, acquire technology, finance
                  community-building programs, and partner incentives.

                  18.0% Team Members: There are ~200 team members

                  9.5% Early Contributors: these are the 50 people who helped in the
                  team before the Foundation was set up

                  7.0% Strategic Investors: from the $20.54 million raise from Polychain
                  Capital, Andreessen Horowitz, CoinFund, Multicoin Capital, and Greycroft
                  Partners

                  4.96% Private Presale Investors: from the $97 million raised from a16z,
                  Polychain, SV Angel, Aspect Ventures, Electric Capital, ZeroEx, Scalar
                  Capital, and Multicoin Capital




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               Dfinity is growing its network of data centers and developers. At the time of
               launch, 12 independent data centers run 7 subnets with 68 nodes -- IC
               “nodes” are similar to ETH2 “validators.” The Foundation expects the number
               of IC data center and node operators to gradually grow post-launch to
               support the network’s ecosystem of apps (see below for details). The team
               targets for the network to reach 123 data centers running 4,300 nodes by
               the end of 2021. Dfinity hopes to eventually scale to thousands of data
               centers running millions of nodes in the future.

               Team Background
               Dfinity was founded in 2016 by Dominic Williams. The Dfinity Foundation has
               around 200 people on the core team. Notable contributors mentioned by
               the team and media include:

                  Dominic Williams, Chief Scientist: Williams was a serial entrepreneur,
                  having created a file storage service and children’s multiplayer online
                  game involving a collection of monsters. Distributed computing was
                  required to store the lists of monster fights and gold nugget rewards,
                  connecting the games together. Williams also wanted to create a game
                  coin and looked at Proof of Stake ideas, though the technology was still
                  nascent. He went into full-time crypto research in 2014. Williams
                  designed Internet Computer’s Threshold Relay.

                  Jan Camenisch, VP of Head of Research & Crypto: Prior to joining
                  Dfinity, Jan was at IBM Research, where he led the Privacy and
                  Cryptography research team and was a member of the IBM Academy of
                  Technology. He has published 130 papers and holds 140 patents.

                  Johan Georg Granström, Director of Engineering: Granström came
                  from Google, where he was a tech lead manager at YouTube.

                  Andreas Rossberg, Researcher and Engineer: Rossberg was formerly
                  at Google and spent time as the JavaScript language team lead at
                  Chrome V8. He is also a co-creator of WebAssembly, a new type of code
                  that can be run in modern web browsers, which is also used at Dfinity. He
                  also created Internet Computer’s programming language Motoko.

                  Benjamin Lynn, Engineer: Lynn is the “L” in BLS Signatures, which was
                  introduced in a report in 2001 and has since become increasingly
                  important in cryptography. One of Dfinity’s technological offerings is a
                  secure randomness beacon, based on a threshold Verifiable Random
                  Function (VRF). This means randomness that can be replicated, if under
                  the same conditions. It’s a pseudo-random function that provides
                  verifiable proof of its output’s correctness. BLS cryptography is used to
                  generate randomness and achieve security, speed, and scale in public
                  networks. Before that, Lynn was at Google and has a Ph.D. in Computer
                  Science from Stanford University

                  Timo Hanke, Principal Researcher: Hanke is a former mathematics and
                  cryptography professor. He then joined CoinTerra in 2014, a
                  manufacturer for Bitcoin mining ASICs and systems, where he served as
                  Head of Research and later as CTO. Hanke has filed several patents on
                  ASIC optimization for Bitcoin mining. He invented a method named
                  AsicBoost that improves the cost and efficiency of Bitcoin mining by 20%.

                  Mahnush Movahedi, Senior Researcher: Movahedi joined from Yale
                  University where she worked on scalable and fault-tolerant distributed
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                  algorithms for consensus and secure multi-party computation, secret
                  sharing, and interactive communication over noisy channels


               Technology
               The purpose of the Internet Computer is to extend the public internet, so it
               can also be the world’s compute platform. Dfinity has just publicly released
               the source code on May 10 2021. Before this, the technical and design
               information of the ICP and the cryptographic puzzle that makes the Internet
               Computer function was unknown. However, the public knew that the
               company and technology have also continued to evolve, with some methods
               discussed in the past years discarded and changed. Below, we summarize
               what Dfinity and its community have publicly shared:

               The Internet Computer is a blockchain computer protocol, constructed from
               a hierarchy of building blocks. At the bottom of the pyramid are
               independent data centers around the world. They host ICP-specific node
               hardware, which communicates to achieve a consensus on what the state of
               the IC should be. A collection of nodes, which ensures decentralization, is
               called a subnet.




               Subnets are likened to blockchains within the IC, the fundamental building
               blocks of the overall network. They are responsible for hosting a distinct
               subset of software canisters. A canister is a bundle of code that developers
               can create from any high-level programming language (like Rust or Dfinity’s
               own language Motoko) to form programs. Programs can include simple
               websites, decentralized applications, or even entire enterprise software. For
               example, an open version of Facebook would be hosted in millions of
               canisters. The state of these canisters is replicated in all of the nodes.




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               As canisters are computational units that consist of both code and data --
               they can be analogous to an advanced Ethereum smart contract or a
               Windows operating system. For example, an operating system can make
               certain processes such as manipulating files and communicating with nearby
               devices. Similarly, the IC provides publicly specified APIs to canisters so that
               they can interact with each other, make payments, create and manage other
               canisters, manage permissions and get the system time. However, unlike an
               operating system, a canister is replicated over all nodes in a subnetwork.

               For the IC to scale in a secure manner, add new features, or withstand
               unpredictable events such as natural disasters -- the number of and the
               composition of subnets can be adjusted. For example, new subnets can be
               added or split, nodes can be added, terminated, or moved. As a result, the IC
               needs to be able to decide how to evolve the protocol. To do this, the
               protocol has a Network Nervous System (NNS).

               Network Nervous System
               A subnet is created by the NNS, an open algorithmic governance system that
               oversees the network. As the name suggests, it’s the nervous system --
               controlling all aspects of the network. Among other things, it can

                  split and merge subnets to balance load across the overall network. For
                  example, a subnet could have a dozen canisters and if the NNS splits the
                  subnet, a portion of the canisters would stay with the original subnet
                  while the rest would be hosted under the new subnet.

                  upgrade the protocol and software used by node machines.

                  combine different node machines from discrete data centers. This could
                  be due to several factors, such as the requirements of the network, the
                  desired security level, available capacity at data centers, and
                  unpredictable hardware failures.

                  configure economic parameters that control how much must be paid by
                  users for compute capacity.

                  protect the network from malicious actors.

               The robustness of the subnets can be improved by adding new nodes to
               them over time. These nodes collaborate using the ICP blockchain computer
               protocols to replicate the data and computations pertaining to the software
               canisters that they host. The protocol can replace faulty or uncommunicative
               nodes with new ones, and can also revive entire subnets if too many of the
               nodes within have failed. This allows the ICP to seamlessly fix network bugs
               and update for new features.


               The NNS has two important canisters: (1) a registry canister, which stores the
               configuration of the entire IC for everyone to see, and (2) a governance
               canister, which stores proposals and neurons, to determine who is allowed to
               participate in governance. We will cover more about this role under the
               Governance section below

               Speed
               At genesis, the IC will have a block rate of one block per second (bps), then
               move up to ~1,000bps by this year-end. According to Williams, there is
               theoretically no upper limit to blocks per second. This is difficult to
               comprehend from a traditional blockchain perspective but is achieved
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               through Chain Key Technology (CKT).

               CKT allows the IC to finalize transactions and update data in a couple of
               seconds. It consists of a set of cryptographic protocols that orchestrate the
               nodes, enabling the IC to have a single public key. This means any device can
               rapidly verify the authenticity of data on the IC. Chain Key Technology allows
               canisters (likened to an advanced smart contract) to all any canister hosted
               on any subnet (likened to a blockchain). This distributed model doesn’t use a
               hub, unlike Polkadot’s hub-and-spoke model. The IC hopes to bring service
               composability. In the open version of the Facebook example, and any other
               app would have permission to call “Open Facebook” for code or data such as
               games or photo filters.

               The IC can host any number of canister smart contracts, meaning that data is
               fully on-chain. To overcome scaling issues, the ICP executes a potentially
               large number of canisters simultaneously. This means that the blockchain is
               sharded by default. However, sharded blockchains don’t communicate with
               each other in real-time.

               Canisters can support requests for updates, which are limited by the
               blockchain’s throughput but should only take a couple of seconds. However,
               this is distinct from queries, which don’t persist changes and are discarded
               after they run. A canister can serve hundreds of queries concurrently. These
               are inexpensive and should complete in a few milliseconds, allowing users to
               have the user experience they’re familiar with on traditional internet.

               For example, Dscvr.one is the IC’s version of Reddit. When a user browses
               the forum, customized views of the content would be delivered in their web
               browser by query calls, which run in milliseconds on a nearby node.
               However, if a user wants to write a post or tip an author, it would involve an
               update call, which takes a couple of seconds. In the future, this delay could
               be hidden by “optimistic execution” -- which first optimistically assumes the
               payment is valid and will work, and later can be contested and reversed.

               Consensus
               Given the ICP brings together different machines around the world, each
               machine (or replicas) must reach consensus on which inputs to include and
               in what sequence. This ensures that the system maintains a coherent state.
               Every software is executed and replicated by many node machines
               worldwide and the majority of the nodes together define the true state of
               the software. This means that outliers, or machines that report a tampered
               state, will not make a difference to the consensus.

               Each subnet has a unique and permanent public verification key over its
               lifetime. The nodes in the subnet will need to be in agreement (by reaching a
               certain threshold) and collaborate to sign a message, so the subnet can
               create a signature on behalf of its canisters. While a sufficient number of
               nodes is required for this threshold to be reached, not all nodes need to
               agree -- leaving room for hardware malfunctions or malicious nodes.

               Noninteractive Distributed Key Generation
               On the IC, the set of nodes that run a subnet will evolve as nodes can join or
               exit their respective subnets. With nodes in flux, it means the group of
               threshold signers evolve over time, hindering the ability for nodes to register
               and distribute new public keys. As a solution, Dfinity introduced the
               Noninteractive Distributed Key Generation (NI-DKG) -- simplifying key
               management by always referencing the same subnet by a static public key
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               management by always referencing the same subnet by a static public key.


               NI-DKG provides proactive security. This key resharing protocol is ideal for
               an asynchronous environment -- enabling fast block times and unlimited
               scalability. Each of the old signers only need to broadcast a single message
               to new signers. To ensure security, many concepts are utilized -- including
               noninteractive zero-knowledge proofs and encryption with forward secrecy.

               ICP Token Uses & Tokenomics
               There are actually two native tokens that are involved -- ICP is the native
               governance token that is used to manage the network and Cycles is a
               stablecoin used to fuel computation.


               ICP tokens can do three major functions -- two are inflationary while one is
               deflationary.

               Facilitating Network Governance (Inflationary)
               ICP tokens can be locked inside the NNS, the algorithmic protocol
               governance system that manages the network, to be used to create neurons,
               which can vote on proposals. A neuron locks a balance of ICP utility tokens
               and enables its owner to participate in network governance, thus earning
               voting rewards. Those rewards are also paid in ICP. Each month, the NNS
               tracks the proportion of votes a neuron participates in to pay a pro-rata
               share of the reward. To maximize participation and thus rewards, it’s possible
               for users to delegate votes to other trusted neurons.

               Converting out of neurons to withdraw ICP isn’t instantaneous and takes a
               “dissolving” period. Users can set the duration of the dissolve delay. The
               longer the dissolve delay, the greater the neuron voting power and the
               greater the voting rewards. This is similar to Curve Finance, where longer
               (irreversible) lock-ups up to four years boost voting power to align
               stakeholders with the long-term success of the network. Dissolve delays can
               be increased but can’t be decreased. To start the unlock countdown, users
               can put the neuron into dissolve mode. Currently, to participate in voting,
               the dissolve delay must be set up between six months and eight years.

               Another way for neurons to increase voting power and rewards is to grow
               older, measured by the time elapsed since it was last placed in dissolve
               mode. The 370 early token investors in the seed round, therefore, have a
               head start. They can choose to turn up the dial for a longer dissolve period
               to take advantage of the high pre-existing age, or they can dissolve their
               neurons to get their ICP tokens.

               Rewarding Participation (Inflationary)
               The network mints new ICP tokens to reward key players. Other than voting
               rewards for those participating in governance, “compute rewards” are given
               to those operating the node machines hosting the network. The NNS
               generates new ICP tokens to reward nodes that are run by data centers and
               neurons. This rewards scheme is inflationary to supply.




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               Production of Cycles for Compute (Deflationary)
               ICP can be converted into Cycles as fuel for computation by canisters. The
               exchange rate of ICP-Cycles depends on external markets -- such that
               burning 1 SDR (an asset created by the IMF containing the USD, EUR, RMB,
               JPY, and GBP) will always create 1 trillion cycles. Terra also offers a SDR-
               based stablecoin called TerraSDR but ICP's burn mechanism is a novel
               stabilizing function. Software canisters must be charged with Cycles, which
               are burned during the process of computation or memory management. As
               the amount of computation on the network grows, the demand to burn
               Cycles increases, and thus more ICP is burned.

               Unlike Ethereum, users aren’t paying the fees. Developers are pre-charging
               the canisters with Cycles for a certain amount of compute units. This user
               experience is similar to how the traditional internet works where developers
               would be the ones to pay AWS for cloud services. Therefore users don’t need
               to own ICP tokens to interact with hosted services or even know it’s running
               on a blockchain.

               The burning of ICP tokens to convert to Cycles to power computation is
               deflationary. Essentially, data center and neuron owners exchange ICP tokens
               with canister owners and managers. Those canister owners and managers
               convert ICP to Cycles, and those Cycles fuel the canisters to enable them to
               run.




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               To avoid high gas fees, Cycles is a stablecoin to ensure that the cost of
               computation doesn’t fluctuate with the value of ICP. Firstly, the conversion
               mechanism of 1T cycles in exchange for 1 SDR worth of ICP. Secondly, if
               there’s a surplus of Cycles, users don’t need to convert their ICP and can first
               purchase the undervalued Cycles on the market, to be burned for fuel as
               computation. Eventually, when all the surplus Cycles are burned, the value
               will return to its peg. Only when the equilibrium is re-balanced will users
               again burn their ICP for Cycles. After iterations of algorithmic stablecoins and
               collateralized stablecoins, Dfinity offers a new method to produce a stable
               value.

               To further keep gas fees low and scale infinitely, CKT is applied. The IC can --
               with sufficient security and resilience -- replicate computation and data (that
               is not governance-related) across as few as seven node machines given
               they’re from seven independent data centers. Therefore, even though
               canister memory on the IC might be relatively expensive at $5 per GB per
               annum, the framework ensures the efficient application of that memory. This
               is relatively cheap if we compare it to other blockchains. As a comparison, a
               June 2017 report estimated that if a user tried to indefinitely store and send
               data on Ethereum, the cost would cost $4.7 million per GB. That said,
               blockchains like Ethereum are not specifically designed for storing large
               quantities of data, such as images, videos, and audio.

               The use of Cycles extends to the application layer. Thus natural buyers for
               the ICP tokens include those who want to participate in network governance
               and developers who need to convert ICP into Cycles to pay for computation.
               Eventually, open internet services will be built from autonomous code that’s
               managed by open tokenized governance systems, which functions similarly
               to the NNS. Also, every canister can create its own token if it wishes, hold
               any amount, and send tokens to other canisters as part of function calls
               (queries or updates). The intention is that each internet service would have
               its own governance token, used for voting and potentially receive a
               distribution of the value created by the autonomous system. Each
               governance system would have its own decentralized financial exchange
               with a governance token that can be traded for Cycles.

               ICP Token Supply
               When Dfinity Foundation was first formed, 9.5% of tokens were was
               distributed to early contributors while the rest remained. On May 10, in a
               final decentralization step, a “Genesis Unlock” proposal will trigger the NNS
               to release the ICP utility tokens. This means thousands of token holders will
               create "voting neurons'' that control the NNS and thus the entire network.




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               While the unlocking schedule is publicly known for strategic investors and
               private sales, the number of tokens unlocked from the Internet Computer
               Association, team members, advisors, early contributors, and the Foundation
               is unknown.

               Due to the governance mechanism and rewards for participation, it’s likely
               that a majority of tokens will be locked. The amount locked will depend on
               two factors:

               Governance and Rewards
               The ecosystem will find a natural balance of how many rewards are required
               to achieve an optimum amount of participation. Assuming that Dfinity wants
               90% of the token supply to be locked in neurons, rewards should be
               sufficient to meet this target. For a fixed amount of rewards, fewer
               participants mean more rewards-per-participant, which should invite more
               participation (and thus locking of ICP tokens).

               Initially, rewards will need to be much higher as risks and uncertainty
               surrounding the network are greater. However, as the network stabilizes,
               rewards can fall over time to reflect lower risks. Based on estimates of the
               required returns as a percentage of the current supply, Dfinity will begin by
               distributing 10% of supply each year, with the amount reducing to 5% in
               eight years to reflect lower risk and thus required rewards.




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               Curve Finance has a similar mechanism, with a maximum lockup period of
               four years. As of the time of writing, 49.5% of all circulating CRV is vote-
               locked for an average of 3.7 years. If ICP were to follow that benchmark, we
               can expect half of circulating tokens to be vote-locked for nearly eight years.

               Pre-Payment
               ICP is required to pre-charge canisters with Cycles to enable them to
               function for a certain amount of computing. This is similar to Filecoin, where
               clients lock up sufficient funds to cover the full cost of the storage
               agreement.

               Based on the IOU markets at FTX the token price is at $180. At FTX’s ICP-
               PERP price, the circulating market cap is $22 billion while the fully diluted
               market cap is $85 billion. This is lower than the prices reached last week on
               Hoo and MXC in the range of $350 to $530 in the past days. The public’s
               anticipation of the launch of the IC has pushed IOU prices to all-time highs
               of up to 30x at the peak so far this year.




               This would rank ICP at sixth place by fully diluted market cap. Major
               exchanges are paying attention. On May 4, 2021, Coinbase Pro announced it
               would list ICP at launch. Huobi, FTX will also be launching ICP. Very likely, all
               the major exchanges will follow.




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               Going forward, ICP has an undefined supply schedule because there are
               deflationary and inflationary pressures. Deflationary pressures will depend
               on the computation being contributed to the platform, which depends on
               the activity in their ecosystem. Inflationary pressures are based on voting
               and participation rewards. Furthermore, to participate in the network, tokens
               are locked in neurons. Therefore, those tokens are not liquid and able to be
               freely transferred to others.

               Governance
               Dfinity intends the Internet Computer to run like a digital government. The
               NNS governance system is responsible for a variety of things, including
               managing voting, the tokenomics, and the data centers. It also monitors the
               node machines, looking for statistical deviations that could indicate faulty
               behavior. While the NNS is an open governance system, it permits
               participation in the network. A potential node provider can apply for a Data
               Center ID to the NNS. Upon approval, the node provider can procure
               specialized machine nodes, install the ICP protocol and then connect to the
               IC network.

               Anyone in the network can lock ICP to create a neuron to submit a proposal
               to the NNS, which operates like a decentralized autonomous organization
               (DAO): network participants cast votes, and the final decision is executed
               automatically by the network itself. Proposals can either be adopted or
               rejected immediately or after a time delay, depending on how the totality of
               neurons votes. To avoid users spamming the NNS with proposals, a fee
               levied on the neuron that submits a rejected proposal. Therefore, the user’s
               neuron (with ICP tokens locked) will be penalized.

               Uniquely, the NNS enables participants to set their preferences prior to
               voting on a proposal, so issuing a vote is no longer a manual process. As
               mentioned above, votes are then cast by users through "neurons" or can be
               delegated to other trusted parties.

               The digital government also has a meta-governance mechanism, where the
               NNS also has the authority to change the code on subnets -- controlling all
               the apps supported in the ecosystem. On one hand, this means that subnets
               aren’t censorship-resistant and will be under the purview of the community.
               Thus, the community decides what is desirable and what isn’t. This is similar
               to traditional internet where the App Store can choose to remove a certain
               app, or a search engine can decide which websites are ranked more relevant
               than others.

               The concept of meta-governance is relatively new. What this implies for
               Dfinity’s ecosystem is uncertain. In the future, if there are different factions,
               it’s conceivable that the community could appease all sides (to avoid
               forking) by voting that several discrete ecosystems are possible. For example,
               in the traditional internet, Youtube has an adult and children’s ecosystem
               depending on what the desired user experience is. As with other Layer-1s,
               the risk of forking rewards diminishes as the layer becomes more mature
               and secure with higher values locked.

               Application Ecosystem
               The IC can be used to build a variety of new products. For example, it can
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               build tokenized internet services, DeFi systems, enterprise systems, and
               websites. The IC is also introducing an “Internet Identity”, in which managers
               user data without usernames, passwords, or cryptographic keys. The internet
               ID can be used to log in to apps, under the cryptographic security of Chain
               Key Technology. This means that users aren’t tracked with Cookies across
               websites and services, and managing privacy could be easier.

               Dfinity hopes to see open versions of Whatsapp, TikTok, Facebook, built
               using less than a thousand lines of code and capable of supporting millions
               of users. Currently, there are several apps in the IC ecosystem:




               Infrastructure

                  Fleek: makes it easy to create websites and applications on the open
                  internet. All their products are built on the underlying protocols that
                  power Web3, such as the Internet Computer, IPFS, Filecoin, and
                  Ethereum. It raised $4 million to build a base layer of products mimicking
                  traditional web infrastructure that any app or site would need like
                  hosting, storage, databases, authentication, and serverless functions. It
                  also supports Ethereum Naming Service (ENS) and Handshake’s
                  decentralized domain name service (HNS). Already, 14,000 websites are
                  running on Fleek

                  Dfinity Explorer: is an open-sourced, community-built dashboard for the
                  IC.


               Decentralized Apps

                  Origyn: is a pan-industry platform for tracking the provenance of luxury
                  goods, starting with luxury watches


               Decentralized Finance

                  Enso Finance: is a decentralized exchange that has raised $5 million in a
                  private funding round last month in Apr-2021. The round was led by
                  Polychain, Dfinity, Multicoin, Spartan, and several other companies

                  Tacen: is a high-performance, decentralized non-custodial exchange that
                  has raised $2.3 million

                  DfiStarter: is the first IDO platform on ICP, providing fundraising
                  services, public relations, and marketing, in addition to tech support for
                  projects planning to develop on the IC
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                  SailFish: is a gateway to open financial services. It’s a decentralized
                  exchange with a social component


               Social

                  Distrikt: is a decentralized, professional social media network. It is the
                  Open LinkedIn application shown off by DFINITY in Davos at WEF 2020
                  that is now being taken to market. They raised $500,000 in initial funding.
                  Users can control their self-sovereign identity and govern the community.

                  OpenChat: is the IC’s response to Whatsapp -- an open version of your
                  standard chat app that is not owned by a large tech corporation. It’s a
                  decentralized chat app built on the Internet Computer, with encrypted
                  communication software.

                  CanCan: is a decentralized video-sharing app. It’s essentially an open and
                  tokenized version of TikTok, running on the Internet Computer and
                  accessible through any browser or mobile device. It shows the scalability
                  and power of the Internet Computer

                  Capsule Social: is a decentralized social media platform that is
                  censorship-resistant. The company raised $1.5 million from Polychain
                  Capital’s Beacon Fund, valuing it at $10 million. It also has early backing
                  from Balaji Srinivasan, former CTO of Coinbase

                  Canistore: is a decentralized media service provider supporting video,
                  music, and text. It fashions itself as a next-generation social store,
                  allowing users to create and share content without worrying about
                  platform risks, such as changes in algorithms that affect ratings and
                  followings. Users can earn rewards for being active, earn royalties on
                  content distribution and also participate in governance.

                  Dscvr.one: is the IC’s answer to Reddit, with a custom governance
                  function that manages future developments and content review


               Valuations
               The sensitivity of ICP pricing at genesis is below and can be updated in our
               spreadsheet here. The higher the amount locked, the lower the circulating
               supply, the more favorable price action is.




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               Since the protocol and its ecosystem is still new, it’s difficult to justify a fair
               valuation for ICP. Data started as of March 24, 2021, and there are
               approximately 120,000 messages daily, which is the equivalent of
               transactions.




               However, if we were to compare the value of the protocol compared to the
               value of the ecosystem, we can start by looking at Terra (LUNA) and Polkadot
               (DOT). Similar to ICP, Terra has non-token projects such as the Chia,
               MemePay, PayWithTerra, BuzLink and Kash. Polkadot is similar in that the
               network is live but projects in the ecosystem projects have not launched on
               top of it and do not have floating prices because parachain auctions have
               not started.


               If we look at the Ecosystem Value / Layer Value (see table below), the value
               of ERC-20 tokens is greater than the value of Ether. At the low-end, we have
               LUNA where the ecosystem’s value is 14% of LUNA’s circulating market cap.
               If we assume that ICP’s ecosystem value to layer value is 14% (in-line with
               LUNA), then we would expect that ICP’s valuation expects that the ecosystem
               would be worth $3 billion. As a comparison, the known amount of
               fundraising among ecosystem apps is ~$10 million, implying that ICP is
               priced above peers.




               Dfinity would perhaps argue that, because the addressable market is larger,
               it justifies a higher valuation. ICP is trying to replace legacy IT such as
               Google, Oracle and AWS. The opportunity in the Cloud market alone could
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               be $1 trillion:




               Risks
               Dfinity will immediately be catapulted into the top ten largest assets. The
               largest risk to price is that the protocol is not battle-hardened. The code was
               only be open-sourced today and waited to be open to scrutiny until after the
               launch. In Dfinity’s defense, their code is a trade secret to limit forking and
               competition. Dfinity’s competition is not only in the crypto-sphere but
               extends to traditional internet.

               Their low trading volume pre-listing is another consideration. FTX’s pricing is
               about half of that seen on Hoo and MXC just days ago. Furthermore,
               potentially high inflation rate is another consideration. Along with DOT, FIL
               and CAKE have lower circulating supply, and therefore higher inflation in the
               next several years, ICP has one of the lowest circulating supplies. This could
               put pressure on the price, especially if tokenholders aren’t locking ICP in the
               ecosystem. The vesting schedule of half its tokens -- including those held by
               the foundation, team members and other partnerships is also not known at
               time of writing.




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               Lastly, Dfinity has raised $120 million from accredited investors and venture
               capital firms. Projects that have successfully fundraised get a lot of hype.
               However, there’s a risk that full valuations leave too little upside for the
               community. Without a robust, committed community, the project could face
               headwinds at launch. As an offset, Dfinity’s developer community is one of
               the fastest-growing.




               Source: Electric Capital

               Finally, Dfinity has ambitious plans and its market cap reflects those
               ambitions. The Foundation released a 20-year roadmap, where they hope,
               within five years, to achieve widespread knowledge of what ICP is among
               entrepreneurs and end-users. Within 10 years, it hopes the IC is on a path to
               overtake big-tech’s closed proprietary ecosystem, where capital will be
               redirected away from legacy internet companies to ICP and DeFi will match
               traditional finance technology. Within 20 years, they hope the ICP will
               overtake closed, proprietary big-tech ecosystems. Given the short duration
               since mainnet, it is too early to tell if Dfinity has a sufficiently strong
               community or execution capabilities to reach these goals. Furthermore, it’s
               coming relatively late to the Layer-1 game and competition is already
               intense at this stage.

               Conclusion
               Dfinity has big goals to remake traditional internet. It even wants to run ETH
               2.0 inside a canister on the IC. The vision, while grand, will depend on
               Dfinity’s ability to execute. Currently, there’s a resemblance with Solana, in
               terms of how IC’s data centers control nodes that process subnet messages
               or canisters. There’s also a resemblance with Ethereum 2.0, though Ethereum
               has lately triangulated on DeFi and high-value transactions. Overall, the
               competition among programmable Layer 1s is intense. Dfinity is the
               newcomer, offering the world a new paradigm and technology. Dfinity has
               launched in the heart of the bull run, perhaps putting wind in their sails.
               However, successfully creating the ultimate world computer is still at play.

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